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United States District
UNITED STATES DISTRICT COURT Souther District of et
SOUTHERN DISTRICT OF TEXAS 00
McALLEN DIVISION MAR 2 3 2020
David J. Bradley, Clerk
IN RE: §
§
§ MISC.NO: M-20-505
§
GRAND JURY PROCEEDINGS §

MOTION TO UNSEAL
SEALED ORDER EXCLUDING TIME UNDER SPEEDY TRIAL ACT
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW the United States of America, hereinafter referred to as "the Government,"
by and through its Attorney and Assistant United States Attorney assigned to this matter and
would respectfully show the Court the following:

I.

The Government moves that the Sealed Order Excluding Time Under Speedy Trial Act
be Unsealed.

Respectfully submitted,

RYAN K. PATRICK
UNITED STATES ATTORNEY

/s/Angel conse C _& ak

Assistant United States “Attorney
